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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF SOUTH CAROLINA


ANGELA SMITH                     )                  CIVIL ACTION NO.
                                 )
                 Plaintiff,      )
                                 )                  COMPLAINT
      vs.                        )
                                 )
POWELL LAW OFFICE P.C. AND       )                  JURY TRIAL DEMAND
LIGHTHOUSE RECOVERY              )
ASSOCIATES, LLC                  )
                                 )
                 Defendants.     )
_________________________________)

                                NATURE OF ACTION

       1.      This is an action brought under the Fair Debt Collection Practices

Act (“FDCPA”), 15 U.S.C. § 1692 et seq.

                             JURISDICTION AND VENUE

       2.      This Court has jurisdiction under 15 U.S.C. § 1692k(d) and 28

U.S.C. § 1331.

       3.      Venue is proper before this Court pursuant to 28 U.S.C. §1391(b),

where the acts and transactions giving rise to Plaintiff’s action occurred in this

district, where Plaintiff resides in this district, and/or where Defendants’ transact

business in this district.

                                       PARTIES

       4.      Plaintiff, Angela Smith (“Plaintiff”), is a natural person who at all

relevant times resided in the State of South Carolina, County of Laurens, and City


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of Gray Court.

       5.    Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).

       6.    Defendant, Powell Law Office P.C. (“PLO”) is an entity which all

relevant times was engaged, by use of the mails and telephone, in the business of

attempting to collect a “debt” from Plaintiff, as defined by 15 U.S.C. §1692a(5).

       7.    PLO is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

       8.    Defendant, Lighthouse Recovery Associates, LLC, (“LRA”) is an

entity who acquires debt in default merely for collection purposes, and who at all

relevant times was engaged in the business of attempting to collect a debt from

Plaintiff.

       9.    LRA is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

                          FACTUAL ALLEGATIONS

       10.   Plaintiff is a natural person obligated, or allegedly obligated, to pay a

debt owed or due, or asserted to be owed or due a creditor other than PLO.

       11.   Plaintiff’s obligation, or alleged obligation, owed or due, or asserted

to be owed or due a creditor other than PLO, arises from a transaction in which the

money, property, insurance, or services that are the subject of the transaction were

incurred primarily for personal, family, or household purposes.

       12.   Plaintiff incurred the obligation, or alleged obligation, owed or due,

or asserted to be owed or due a creditor other than PLO.

       13.   PLO uses instrumentalities of interstate commerce or the mails in a

business the principal purpose of which is the collection of any debts, and/or

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regularly collects or attempts to collect, directly or indirectly, debts owed or due,

or asserted to be owed or due another.

       14.    LRA purchases debts once owed or once due, or asserted to be once

owed or once due a creditor.

       15.    LRA acquired Plaintiff’s debt once owed or once due, or asserted to

be once owed or once due a creditor, when the debt was in default.

       16.    LRA is thoroughly enmeshed in the debt collection business, and

LRA is a significant participant in PLO’s debt collection process.

       17.    In connection with the collection of an alleged debt, Defendant

Powell, itself and on behalf of Defendant LRA, placed a telephone call to

Plaintiff’s place of employment on February 1, 2011 at 12:45 P.M.

       18.    In response to this call, Plaintiff sent an email to Defendant Powell

on February 1, 2011 at 12:55 P.M. requesting that Defendant cease and desist from

placing any further telephone calls to Plaintiff, and demanded that Defendant

communicate with Plaintiff solely via fax or email.

       19.    Despite Plaintiff’s demand, Defendant LRA placed multiple

additional telephone calls to Plaintiff’s place of employment, including, but not

limited to: February 15, 2011 at 7:00 P.M. and February 16, 2011 at 4:22 P.M. and

February 16, 2011 at 4:58 P.M. (15 U.S.C. § 1692c(c); 15 U.S.C. § 1692d(5)).

       20.    In connection with the collection of an alleged debt, Defendant

Powell, itself and on behalf of Defendant LRA, sent initial written communication

to Plaintiff dated January 17, 2011 in which Defendant stated, in relevant part, as

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follows:




      21.    Defendant placed this statement, in which it threatened Plaintiff that

it would “soon” assign an attorney to review the alleged debt for litigation and

referral to a law firm in Plaintiff’s city and count of residence immediately above

the disclosures required pursuant to 15 U.S.C. § 1692g(a) et seq., and in so doing,

obscured and overshadowed the same. (15 U.S.C. § 1692g(b)).

      22.    In connection with the collection of an alleged debt, Defendant

Powell, itself and on behalf of Defendant LRA, sent initial written communication

to Plaintiff dated January 17, 2011 in which Defendant stated that the “current

creditor” of the alleged debt was “LRA/ UDH \ Payday Loans 040,” and as such,

failed to disclose the name of the creditor in a meaningful manner as required

pursuant to 15 U.S.C. § 1692g(a)(2). (15 U.S.C. § 1692g(a) et seq.).

      23.    Defendants’ actions constitute conduct highly offensive to a

reasonable person.




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               COUNT I—VIOLATIONS OF THE FDCPA
                       DEFENDANT PLO

   24.      Plaintiff repeats and re-alleges each and every allegation above.

   25.      Defendant PLO violated the FDCPA as detailed above.

   WHEREFORE, Plaintiff prays for relief and judgment, as follows:

         a) Adjudging that PLO violated the FDCPA;

         b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k,

            in the amount of $1,000.00;

         c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;

         d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in

            this action;

         e) Awarding Plaintiff any pre-judgment and post-judgment interest as

            may be allowed under the law;

         f) Awarding such other and further relief as the Court may deem just

            and proper.

               COUNT II—VIOLATIONS OF THE FDCPA
                        DEFENDANT LRA

   26.      Plaintiff repeats and re-alleges each and every allegation above.

   27.      Defendant LRA violated the FDCPA as detailed above.

   WHEREFORE, Plaintiff prays for relief and judgment, as follows:

         a) Adjudging that LRA violated the FDCPA;

         b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k,

            in the amount of $1,000.00;

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         c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;

         d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in

            this action;

         e) Awarding Plaintiff any pre-judgment and post-judgment interest as

            may be allowed under the law;

         f) Awarding such other and further relief as the Court may deem just

            and proper.

                                TRIAL BY JURY

   28.      Plaintiff is entitled to and hereby demands a trial by jury.


   DATED this 22nd day of August, 2011.


                                         Respectfully submitted,

                                         /s/ Holly E. Dowd
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